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                                 In the
               United States Court of Appeals
                        For the Eleventh Circuit

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                              No. 23-11173
                         ____________________

      STATE OF ALABAMA,
      ex rel.,
      ATTORNEY GENERAL, STATE OF ALABAMA,
      ALABAMA     DEPARTMENT     OF   ENVIRONMENTAL
      MANAGEMENT,
                                                           Petitioners,
      versus
      U.S. ENVIRONMENTAL PROTECTION AGENCY,
      ADMINISTRATOR, U.S. ENVIRONMENTAL PROTECTION
      AGENCY,


                                                         Respondents.


                         ____________________
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      2                    Order of the Court                 23-11173

                 Petition for Review of a Decision of the
                   Environmental Protection Agency
                  Agency No. EPA-HQ-OAR-2021-0663
                        ____________________

                        ____________________

                              No. 23-11196
                        ____________________

      ALABAMA POWER COMPANY,
      POWERSOUTH ENERGY COOPERATIVE,
                                                            Petitioners,
      versus
      U.S. ENVIRONMENTAL PROTECTION AGENCY,
      ADMINISTRATOR, U.S. ENVIRONMENTAL PROTECTION
      AGENCY,


                                                        Respondents.


                        ____________________

                 Petition for Review of a Decision of the
                   Environmental Protection Agency
                  Agency No. EPA-HQ-OAR-2021-0663
                        ____________________
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      23-11173                Order of the Court                        3

      Before BRANCH and LUCK, Circuit Judges.
      BY THE COURT:
             The petitioners’ joint motion to consolidate Case Nos. 23-
      11173 and 23-11196 is GRANTED. We CARRY WITH THE CASE
      the issue raised by the jurisdictional question, namely whether the
      petitioners were required to file their petitions for review in the
      United States Court of Appeals for the District of Columbia under
      42 U.S.C. § 7607(b)(1). A final determination regarding this issue
      will be made by the panel to whom this case is submitted after
      briefing on the merits. The parties may further address the issue in
      their briefs as they deem necessary or appropriate.
